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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
“x

RINA OH ata RINA OH AMEN,

Plainuff, Case No.: 1:21-cv-08839-NRB

Pursuant to Rule 1.3 of the Local Rules of the United States Court for the Southern and
Easter Districts of New York, Jillian Roth, Esquire hereby moves this Court for an Order for
aximission to practice Pro Hac Vice to appear as counsel Virginia L. Giuffre in the above-captioned
action.

1 am im good standing of the bar(s) of the Commonwealth of Pennsylvania and the State of
Florida. There are no pending disciplinary actions against me in any state or federal court. I have
mever been convicted of a felony. I have never been censured, suspended, disbarred or denied
admission or readmission by any court. I have attached the affidavit pursuant to Local Rule 1.3.

pectfully submitted,
Ain Le

Japa Roth, Esq.

Dated: April 11. 2023

Applicant's Name- Jillian Roth
Firm Name: Laffey Bucci & Kent, LLP
Address: 1100 Ludlow St, Ste. 300
‘State/Zip: Philadelphia, PA 191
igkeevar Ph: 215-399-9255 Fax: 215-241-8700
Email: jroth@lafferybuccikent.com
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AFFIDAVIT IN SUPPORT OF MOTION TO APPEAR PRO HAC VICE

Commonwealth of Pennsylvania
County of Philadelphia

I, Jillian Roth, Esq., being duly sworn, hereby swears under oath that the foregoing
information is true, namely: (a) I have never been convicted of a felony, (b) I have never been
censured, suspended, disbarred or denied admission or readmission by any court, (c) no
disciplinary proceedings are presently pending against me.

Dated: April 11, 2023

Signature: es

The foregoing document was acknowledged before me this 471 day of Avy, | 2023, by
Jillian Roth, Esq.

Sworn to me before this

|. day ofAp' | 2023

name yp aie

[MAYA KESSL
literyOuaie ake ie
No. 01KE6407451
Qualified in Richmond County
My Commission Expires June 08, 2024

